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 7
 8                    IN THE UNITED STATES DISTRICT COURT
 9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                )   2:08-cr-190-GEB
                                              )
12                        Plaintiff,          )
                                              )
13             v.                             )   RELATED CASE ORDER
                                              )
14   JAIME VAN TONGEREN; TONY HAMMETT;        )
     MARGARITO ALBERTE                        )
15                                            )
                          Defendants.         )
16                                            )
                                              )
17   UNITED STATES OF AMERICA,                )   2:08-cr-191-EJG
                                              )
18                        Plaintiff,          )
                                              )
19             v.                             )
                                              )
20   MARGARITO ALBERTE, NICHOLAS              )
     IZARRARAS; PRETTY LE,                    )
21                                            )
                          Defendants.         )
22                                            )
23             On May 8, 2008, the United States filed a “Notice of
24   Related Cases” document in which it states the above cases are
25   related under Local Rule 83-123 since “[t]he cases were the result
26   of a single investigation and Margarito Alberte is a defendant in
27   each case.
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 1                Examination of the cases reveals they are related within
 2   the meaning of Local Rule 83-123(a).         Accordingly, the assignment
 3   of the matters to the undersigned judge is likely to achieve
 4   judicial economy.
 5                IT IS THEREFORE ORDERED that action 2:08-cr-191-EJG is
 6   reassigned to Judge Garland E. Burrell, Jr. for all further
 7   proceedings.     Henceforth, the caption on documents filed in the
 8   reassigned case shall show the initials “GEB” instead of the other
 9   judge’s initials.      All dates in the reassigned case are vacated.
10                IT IS FURTHER ORDERED that the Clerk of the Court make
11   appropriate adjustment in the assignment of criminal cases to
12   compensate for this reassignment.
13                IT IS SO ORDERED.
14   Dated:    May 15, 2008
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16                                     GARLAND E. BURRELL, JR.
                                       United States District Judge
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